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                                   UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

    CITY OF DALLAS,                                          §
                                                             §
            Plaintiff,                                       §
    v.                                                       §
                                                             §
    DELTA AIR LINES, INC.,                                   §         Civil Action No. 3:15-cv-02069-K
    SOUTHWEST AIRLINES CO.,                                  §
    VIRGIN AMERICA INC.,                                     §
    AMERICAN AIRLINES, INC., and                             §
    UNITED AIRLINES, INC.,                                   §
                                                             §
            Defendants.                                      §
                                                             §


         SOUTHWEST’S RESPONSE TO DELTA’S SUPPLEMENTAL DOCUMENTS IN
            SUPPORT OF ITS RESPONSE TO SOUTHWEST’S OBJECTIONS TO
                    DELTA’S SUMMARY JUDGMENT EVIDENCE


           Under the guise of supplementing the record (and without seeking leave), Delta warps the

words of a recent DOT submission solely to vilify Southwest. But there is no inconsistency

between Southwest’s previous filings with the Court and its DOT submission. And despite the

implication of secrecy, Southwest filed its submission publicly.1 Just as important, Delta fails to

even remotely tie these new documents to Southwest’s objections to Delta’s use of the DOT letters.




1
  Southwest submitted its filing to the DOT at the agency’s recent request for public comment on whether to retain
previously issued guidance documents. See Notice of Review of Agency Guidance, Docket No. DOT-OST-2017-
0069, 84 Fed. Reg. 24, 1820 (Feb. 5, 2019), available at https://www.govinfo.gov/content/pkg/FR-2019-02-
05/pdf/2019-01065.pdf. As the DOT recognized, even non-binding guidance documents “may need to be rescinded
or updated to reflect developments.” Id. at 1820. Given (1) the DOT’s statements in this litigation and elsewhere
regarding the letters, (2) the FAA’s unilateral termination of the Part 16 proceeding in which it had pledged to consider
the lawfulness of the letters, and (3) Delta’s improper reliance on the non-binding letters to try to support its legal
positions in this case, the DOT letters are an ideal candidate for agency review. Notably, Delta filed comments on
several other DOT documents as part of DOT's reconsideration of guidance documents.


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                                                ARGUMENT

        A.       The DOT disavowed the completeness and perceived effect of its letters, a
                 point Southwest accurately presented to the agency in its recent submission.

        Although Southwest’s objections to Delta’s summary judgment evidence – the filing Delta

is purportedly responding to – did not expressly characterize the letters as “disavowed” or

“withdrawn,” Southwest’s earlier characterization of the letters as “disavowed” is a perfectly

reasonable reading of the DOT’s new perspective on its letters to the City once the agency became

embroiled in litigation. Specifically, the DOT’s interrogatory responses and other filings

disavowed Delta’s attempt to use them as binding, or even persuasive, matters of contract

interpretation. As the DOT confirmed, the scope and weight given to letters had been

misunderstood and misused:2




        Indeed, despite Delta’s arguments to the contrary, the DOT has now plainly acknowledged

that its letters to the City “did not attempt to define Delta’s status” under the Lease’s

accommodation provision and did not direct a particular decision by the City.3 (Thus, the letters

are irrelevant to this case’s contract interpretation claims.) And as Southwest accurately described

in its objections to Delta’s summary judgment evidence, the DOT has emphasized that the letters



2
 Dkt. No. 463 at App. 161.
3
 Dkt. No. 463 (SWA App. to Resp. to City MSJ) at App. 161; see also id. (“DOT is not a signatory to that Lease and,
once again, tells the City that it is ‘the City’s responsibility to decided how to act on Delta’s requests.’”).


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incompletely analyzed the grant assurances and the accommodation process, stating that the

“letter[s] leave[] open important issues – including whether [the Wright Amendment Reform Act]

exempts Love Field from otherwise applicable grant assurances, whether gate capacity is to be

determined according to Delta’s definition or Southwest’s, and whether it will be Southwest or

another airline that would have to accommodate Delta on its gates.”4

        What’s more, unlike Delta’s routine practice, Southwest has consistently put any

characterization of the DOT letters as “disavowed” in context, directly citing or quoting the

interrogatory responses that support this characterization:5




        Southwest’s recent DOT submission is no different. It expressly notes the “significant

uncertainty” created by the DOT’s issuance of the letters followed by later concessions that the

letters “were only ‘non-binding guidance’.”6 There is nothing contradictory about characterizing




4
  Final Br. of Respondent DOT, Southwest Airlines Co. v. DOT, Case No. 15-01036, Doc. No. 1578961, at 15 (D.C.
Cir. Oct. 20, 2015).
5
  Dkt. No. 218 (SWA Closing Br.) at 4.
6
  Dkt. No. 630-1 (SWA DOT Submission, dated May 8, 2019) at App. 0006.


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the letters as disavowed and also seeking the DOT’s express withdrawal to resolve any remaining

confusion.

        It is Delta that has taken inconsistent positions. In this Court, Delta continues to improperly

rely on the DOT letters as though they were the fully considered and final views of the agency.

Yet Delta took the opposite position before the D.C. Circuit in its effort to avoid judicial review,

asserting that the letters “never purported to establish binding legal requirements or constitute a

final resolution of the dispute in question.”7 Strikingly, Delta also admitted that the “DOT has

‘made no determination’ as to whether the City of Dallas violated its accommodation obligation

under federal law.”8

        As Delta acknowledged, the FAA initiated a Part 16 administrative proceeding – the proper

vehicle for complaints about violations of the grant assurances – that was intended to provide “an

opportunity” for the FAA to consider the lawfulness of the DOT letters.9 But the FAA unilaterally

terminated the Part 16 proceeding in 2018 before any decision issued, which foreclosed

administrative review of the two letters (and judicial review of any administrative decision). Thus,

it is entirely proper to ask the DOT to reconsider and rescind the non-binding guidance in its letters.

        B.      Delta’s “supplemental” documents do not address the fatal evidentiary issues
                that afflict the DOT letters.

        Delta’s filing serves no other purpose than to unfairly malign Southwest. The documents

Delta introduces have no bearing on the relevance and hearsay objections that Southwest raised.

Regardless of whether the letters are properly characterized as “disavowed,” the DOT has

undisputedly admitted that the letters conveyed an incomplete, non-binding characterization of the



7
  Delta Mot. to Govern Future Proceedings, Southwest Airlines Co. v. DOT, Case No. 15-01276, Doc. No. 1634692,
at 3 (D.C. Cir. Sept. 8, 2016).
8
  Id.
9
  Id. at 2.


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grant assurances. That understanding is irrelevant to interpreting the Lease, a point on which the

DOT expressly agrees with Southwest.10 Further, because the DOT issued the letters well after

execution of the Lease, they could not possibly bear on the contracting parties’ intent.

        Finally, the letters are undoubtedly hearsay. The DOT is not a party-opponent whose

statements may come in against it, and no hearsay exception applies. Southwest’s recent DOT

submission, no matter how frustrating to Delta, cannot cure the letters of these deficiencies.

        C.       Delta has no right to enforce the DOT letters against the City and Southwest,
                 even if they were binding.

        The DOT letters are irrelevant under the Rules of Evidence for yet another reason. The

City, Southwest, and United all have rightly argued in their pending summary judgment motions

that Delta has no third-party right to enforce federal law (or even contractual obligations

purportedly incorporating federal law).

        First, Delta has no freestanding right to enforce the federal law discussed in the DOT

letters: the grant assurances. The grant assurances allow no private right of enforcement, and

therefore Delta has no cause of action for alleged violations that it can assert against the City or

Southwest. Delta’s sole remedy is an administrative one with the FAA.11 Asserting its claim

through the declaratory judgment procedure does not make Delta’s claim any more cognizable.

Second, Delta has no right to enforce the grant assurances through a breach of contract theory.

Even if Article 14 allowed enforcement of the grant assurances by the contracting parties, Delta is

not a third-party beneficiary of those alleged promises. See Restatement (2d) of Contracts § 305

(1981) (“A promise in a contract creates a duty in the promisor to any intended beneficiary to

perform the promise, and the intended beneficiary may enforce the duty.”) (emphasis added). The


10
   See Docket No. 463 at 161, in which the DOT notes that its letters to the City “did not attempt to define Delta’s
status in relation to” the Lease’s accommodation provision and did not direct a particular decision by the City.
11
   See Dkt. 498 (SWA Mot. for Summ. J. Br.) at 18.


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Court must undertake a separate analysis of the promises allegedly present in Article 14, and Delta

has never offered any basis for overcoming Texas’s presumption against third-party beneficiaries

for those promises.12


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12
  See Dkt. No. 498 at 16–17 (noting that Article 14 does not mention new entrants or otherwise include any clear
indication to benefit third parties or allow third-party enforcement).


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